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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 VERONICA GARCIA, as an individual and               )
 on behalf of all others similarly situated,         )
                                                     )
                                Plaintiff,           )               1:22-cv-4240
                                                           Case No. _____________
                                                     )
                 v.                                  )
                                                     )
 ST. AUGUSTINE COLLEGE,                              )
                                                     )
                                Defendants.          )
                                                     )

                           DEFENDANT’S NOTICE OF REMOVAL

       Defendant St. Augustine College (“Defendant” and “St. Augustine”), pursuant to 28 U.S.C.

§§ 1332(d), 1441, 1446, and 1453, removes this action from the Circuit Court of Cook County,

Illinois, Chancery Division, to the United States District Court for the Northern District of Illinois,

Eastern Division, at Chicago. The grounds for removal are as follows:

                                 JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over this case pursuant to 28

U.S.C. § 1332, and removal is proper under the Class Action Fairness Act of 2005 (“CAFA”),

codified in pertinent part at 28 U.S.C. § 1332(d).

       2.      This Court is in the judicial district and division embracing the place where the state

court case was brought and is pending. See 28 U.S.C. § 93(a)(1). Thus, this Court is the proper

district court to which this case should be removed. 28 U.S.C. §§ 1441(a) and 1446(a).

                       THE ACTION & TIMELINESS OF REMOVAL

       3.      On July 12, 2022, Plaintiff, on behalf of herself and, purportedly, on behalf of all

others similarly situated, filed a “Class Action Complaint” (the “Complaint”) against St. Augustine
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in the First Judicial Circuit Court for Cook County, Illinois, Case No.: 2022CH06701, (the “State

Court Action”). Plaintiff filed her Complaint as a putative class action. (Compl., ¶ 109 (defining

putative class on whose behalf Plaintiff purports to bring this action)). A true and correct copy of

the Complaint is attached to this Notice of Removal as Exhibit A.

       4.         On July 15, 2022, Plaintiff served St. Augustine with copies of the Summons,

Complaint, and other related documents. Pursuant to 28 U.S.C. § 1446(a), true and correct copies

of all documents filed in the State Court Action are collectively attached hereto as Exhibit B. 1

       5.         This Notice of Removal is timely because St. Augustine filed it within thirty (30)

days of being served with the Complaint. See 28 U.S.C. § 1446(b) (notice of removal shall be filed

within 30 days of service); Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 348 (1999)

(removal period begins when the defendant is served).

                                           CAFA JURISDICTION

       6.         Basis of Original Jurisdiction. This Court has original jurisdiction over this action

under CAFA (codified in pertinent part at 28 U.S.C. § 1332(d)). Section 1332(d) provides that a

district court shall have original jurisdiction over a class action with one hundred (100) or more

putative class members, in which the matter in controversy, in the aggregate, exceeds the sum or

value of $5 million. 28 U.S.C. § 1332(d). Section 1332(d) further provides that, for CAFA to apply,

a member of the putative class must be a citizen of a state different from any defendant.

       7.         As set forth below, pursuant to 28 U.S.C. § 1332(d) and § 1441(a), St. Augustine

may remove the State Court Action to federal court under CAFA because: (i) this action is pled as

a class action; (ii) the putative class includes more than one hundred members; (iii) unnamed

members of the putative class are citizens of a state different than that of St. Augustine; and (iv)


       1
           Because the Complaint is attached hereto as Exhibit A, St. Augustine has not also included it in Exhibit B.



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the matter in controversy, in the aggregate, exceeds the sum or value of $5,000,000, exclusive of

interest and costs.

                        THE ACTION IS PLED AS A CLASS ACTION

        8.      CAFA defines a “class action” as “any civil action filed under rule 23 of the Federal

Rules of Civil Procedure or similar State statute or rule of judicial procedure authorizing an action

to be brought by 1 or more representative persons as a class action.” 28 U.S.C. § 1332(d)(1)(B).

        9.      As Plaintiff alleges, “Plaintiff brings this nationwide class action on behalf of

herself and on behalf of all others similarly situated.” (Compl., ¶ 108). Because class action suits

brought pursuant to 735 ILCS 5/2-801 are substantially similar to class action suits brought

pursuant to Federal Rule of Civil Procedure 23, the first CAFA requirement is satisfied.

                            THE PUTATIVE CLASS INCLUDES
                        AT LEAST ONE HUNDRED (100) MEMBERS

        10.     Plaintiff alleges that “[o]n or about February 24, 2022, St. Augustine notified state

Attorneys General and many Students about a widespread data breach involving sensitive PII of

13,263 individuals.” (Compl., ¶ 3). Further, Plaintiff alleges “St. Augustine discovered that files

on its network were accessed and acquired by the unknown actor (the ‘Data Breach’).” Id.

        11.     Plaintiff alleges:

        Member [sic] of the Classes are so numerous that joinder of all members is
        impracticable. St. Augustine has identified and sent notice to over 13,000 persons
        whose PII may have been improperly accessed in the Data Breach, and the Classes
        are apparently identifiable within St. Augustine’s records.

Id. at ¶ 112.

        12.     “St. Augustine’s records” indicate that the “Data Breach” affected approximately

17,383 individuals’ information. Therefore, the putative class, defined by Plaintiff, includes more

than the statutorily required minimum of 100 members. See id.




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                           MINIMAL DIVERSITY OF CITIZENSHIP

        13.     Pursuant to 28 U.S.C. § 1332(d)(2)(A), the “district court shall have original

jurisdiction” over a “class in which . . . any [named or unnamed] member of the class of plaintiffs

is a citizen of a State different from any defendant.”

        14.     Plaintiff’s Citizenship. For diversity purposes, a party’s citizenship is determined

by their domicile. See Denlinger v. Brennan, 87 F.3d 214, 216 (7th Cir. 1996); Guaranty Nat. Title

Co., Inc. v. J.E.G. Assoc., 101 F.3d 57, 58-59 (7th Cir. 1996) (citizenship, not residence, matters

for diversity jurisdiction). Plaintiff alleges that she “is a resident and citizen of Illinois, residing in

Berwyn.” (Compl., ¶ 15).

        15.     Unnamed Class Members’ Citizenship. To establish minimal diversity, the Court

should consider the citizenship of all class members, including putative, both named and unnamed.

See 28 U.S.C. § 1332(d)(1)(D) (“‘class members’ means the persons (named or unnamed) . . .”).

Plaintiff alleges a “nationwide class action” that is geographically broader than her individual

domicile. (Compl., ¶ 108). St. Augustine’s records, referenced by Plaintiff (Compl., ¶ 112),

indicate that it sent notice of the “Data Breach,” to individual addressees in 32 non-Illinois states.

See State Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994) (noting that

residence is prima facie evidence of domicile). Accordingly, it is more likely than not that at least

one of the unnamed, putative class members is a non-Illinois citizen.

        16.     Defendant’s Citizenship. Pursuant to 28 U.S.C. § 1332(c), “a corporation shall be

deemed to be a citizen of any State by which it has been incorporated and of the State where it has

its principal place of business.” The United States Supreme Court has concluded that a

corporation’s “principal place of business” is “where a corporation’s officers direct, control, and

coordinate the corporation’s activities,” i.e., the corporation’s “nerve center.” Hertz Corp. v.




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Friend, 130 S. Ct. 1181, 1192 (2010). “[I]n practice,” a corporation’s “nerve center” should

“normally be the place where the corporation maintains its headquarters.” Id. “The public often

(though not always) considers it the corporation’s main place of business.” Id. at 1193. As Plaintiff

alleges, “St. Augustine College is a private college located in Chicago, Illinois, which has a

principal place of business at 1345 W. Argyle St., Chicago, IL 60640.” (Compl., ¶ 16). St.

Augustine is organized under the laws of Illinois with its principal place of business in Illinois.

          17.     Minimal diversity of citizenship is established pursuant to CAFA because Plaintiff

is a citizen of Illinois, unnamed class members are not citizens of Illinois, and Defendant is a

citizen of Illinois.

                                  THE AMOUNT IN CONTROVERSY
                                 EXCEEDS THE CAFA THRESHOLD 2

          18.     When a complaint does not specify the damages amount sought, as is the case with

Plaintiff’s Complaint, the removing defendants must prove by a preponderance of the evidence

that the jurisdictional amount in controversy is satisfied. 28 U.S.C.A. § 1446(c)(2)(B). The United

States Supreme Court has held that “a defendant’s notice of removal need include only a plausible

allegation that the amount in controversy exceeds the jurisdictional threshold” to meet the amount-

in-controversy requirement. Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 90

(2014).

          19.     As demonstrated below, the allegations in the Complaint make it more likely than

not that the amount in controversy under CAFA exceeds $5,000,000.




          2
            The amounts set forth in this Notice of Removal are solely for purposes of establishing that the amount in
controversy exceeds the $5 million threshold and are not intended to support, and cannot be construed as an
admission, that Plaintiff can state a claim or is entitled to damages in any amount. Defendant denies liability, denies
Plaintiff is entitled to recover any amount, and denies that a class can be properly certified in this action.



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         20.    Negligence Claim. Plaintiff alleges “[a]s a condition of applying for enrollment,

gaining financial aid, or remaining a student at St. Augustine College, current and former Students

are obligated to provide St. Augustine with certain PII . . ..” (Compl., ¶ 124). And, she alleges “St.

Augustine had a duty to exercise reasonable care in safeguarding, securing, and protecting such

information from being compromised, lost, stolen, misused, and/or disclosed to unauthorized

parties.” Id. at 128.

         21.    Plaintiff further alleges:

         As a direct and proximate result of St. Augustine’s negligence and negligence per
         se, Plaintiff and Class members have suffered and will suffer injury, including but
         not limited to: (i) actual identity theft; (ii) the loss of the opportunity of how their
         PII is used; (iii) the compromise, publication, and/or theft of their PII; (iv) out-of-
         pocket expenses associated with the prevention, detection, and recovery from
         identify theft, tax fraud, and/or unauthorized use of their PII; (v) lost opportunity
         costs associated with effort expended and the loss of productivity addressing and
         attempting to mitigate the actual and future consequences of the Data Breach,
         including but not limited to efforts spent researching how to prevent, detect, contest,
         and recover from tax fraud and identity theft; (vi) costs associated with placing
         freezes on credit reports; (vii) the continued risk to their PII, which remain [sic] in
         St. Augustine’s possession and is subject to further unauthorized disclosures so
         long as St. Augustine fails to undertake appropriate and adequate measures to
         protect the PII in their continued possession; (viii) future costs in terms of time,
         effort, and money that will be expended to prevent, detect, contest, and repair the
         impact of the PII compromised as a result of the Data Breach for the remainder of
         the lives of Plaintiff and Class Members; and (ix) the diminished value of St.
         Augustine’s goods and services they received.

Id. at ¶ 152. Plaintiff and her putative class note “injury and/or harm, including, but not limited to,

anxiety, emotional distress, loss of privacy, and other economic and non-economic losses.” Id. at

¶ 153.

         22.    Plaintiff’s Complaint contains no allegations that would support or suggest the

amount in actual damages to which she and any member of the putative class are allegedly entitled

for St. Augustine’s alleged negligence. Plaintiff and the putative class do, however, seek damages

in the form of “out-of-pocket expenses associated with the prevention, detection, and recovery



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from identify theft, tax fraud, and/or unauthorized use of their PII.” Id. at ¶ 152. One option to

assign value to this line item of alleged damages is through the cost of credit monitoring. The cost

of credit monitoring is an out-of-pocket expense associated with prevention and detection of

identity theft.

        23.        Three main identity-protection agencies—LifeLock, Equifax, and Experian—

advertise monthly rates for credit-monitoring services ranging from $19.95 to $23.99 per person

per month. For example, LifeLock offers a product, titled Ultimate Plus, that provides 1-Bureau

credit monitoring with up to $1,000,000 in “stolen funds reimbursement” for $23.99 per month. 3

Similarly, both Equifax 4 and Experian 5 offer products that provide 3-Bureau credit monitoring

with up to $1 million in identity theft insurance for $19.95 and $19.99 per month, respectively.

Multiplying just the cost of providing one year of LifeLock credit-monitoring services at $23.99

by the number of putative class members, the amount in controversy for just credit monitoring is

approximately $5,004,281.04 (calculated as: 17,383 individuals notified, times 12 months, times

$23.99 per month).

        24.        Unjust Enrichment Claim. Next, Plaintiff alleges unjust enrichment on behalf of

herself and the nationwide putative class. Her Complaint states:

        The money that Students paid to Defendant should have been used to pay, at least
        in part, for the administrative costs and implementation of data security adequate
        to safeguard and protect the confidentiality of Plaintiff’s and Class Members’ PII.

        3
          See
https://www.lifelock.com/offers?expid=EASY&om_sem_cid=hho_sem_sy:us:ggl:pm:e:nb:ot::c:google:1624452157
2::&promocode=GSEMID30FR&utm_source=google&utm_medium=cpc&utm_campaign=16244521572&adgroup
=&utm_term=&targetid=&matchtype=&utm_content=&network=x&device=c&adp=&testgroup=&pgrid=&ptaid=
&gclid=EAIaIQobChMI9fqrpeqt-QIVsxx9Ch1IfAVbEAAYASAAEgJdEvD_BwE&gclsrc=aw.ds (last visited:
August 4, 2022).

        4
            See https://www.equifax.com/personal/products/value-product-comparison/ (last visited: August 4, 2022)

        5
         See https://www.experian.com/consumer-products/identity-theft-and-credit-protection.html (last visited:
August 4, 2022).



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Id. at ¶ 158. Further, she alleges:

        Defendant should not be permitted to retain the money belonging to Plaintiff and
        Class Members because Defendant failed to implement the data security measures
        adequate to safeguard and protect the confidentiality of Plaintiff’s and Class
        Members’ PII and that the Students paid for.

Id. at ¶ 161.

        25.        For the 2021-2022 academic school year at St. Augustine, tuition is $488.00 per

credit hour. 6 Assuming the entire putative class (defined by Plaintiff as “current and former

students” (Compl., ¶ 1)) paid for only a single credit hour, and the Plaintiff argued that a single

credit hour was the amount in controversy for this line item of alleged damages, the amount in

controversy would be $8,482,904.00 (calculated as: 17,383 individuals notified times $488.00 for

one credit hour of education).

        26.        Breach of Express Contract Claim. In the alternative to unjust enrichment, Plaintiff

pleads breach of express contract. Id. at ¶¶ 163-171. Plaintiff seeks “compensator, [sic]

consequential, and nominal damages suffered as the result of the breach.” Id. at ¶ 171. This amount

in controversy would only further increase the aggregated amount in controversy.

        27.        Breach of Implied Contract Claim. In the alternative to unjust enrichment, Plaintiff

pleads breach of implied contract. Id. at ¶¶ 172-187. Here, Plaintiff and her putative class seek the

same money damages sought in the unjust enrichment and breach of express contract claims plus

injunctive relief. Specifically, Plaintiff requests that the Court order St. Augustine to “e.g., (i)

strengthen its data security systems and monitoring procedures; (ii) submit to future annual audits

of those systems and monitoring procedures; and (iii) immediately provide adequate credit

monitoring to all Class Members.” Id. at ¶ 187. In a suit for injunctive relief, “the amount in


        6
            See https://www.staugustine.edu/tuition-fees/ (last visited: August 4, 2022).



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controversy is measured by the value of the object of the litigation.” Hunt v. Washington State

Apple Advertising Comm’n, 432 U.S. 333, 347 (1977). The object of litigation “may be valued

from either perspective—what the plaintiff stands to gain, or what it would cost the defendant to

meet the plaintiff’s demand.” Macken ex rel. Macken v. Jensen, 333 F.3d 797, 799 (7th Cir. 2003).

Here, St. Augustine takes the latter.

          28.    As one item of injunctive relief, among others sought, Plaintiff seeks:

          [F]or a period of 10 years, appointing a qualified and independent third-party
          assessor to conduct a SOC 2 Type 2 attestation on an annual basis to evaluate St.
          Augustine’s compliance with the terms of the Court’s final judgment, to provide
          such report to the Court and to counsel for the class, and to report any deficiencies
          with compliance of the Court’s final judgment . . . .

Id. at “Prayer for Relief,” ¶ C.xvii. A single SOC 2 Type 2 audit can cost an organization as much

as $100,000. Plaintiff requests ten years of these audits. The object of this single item of injunctive

relief may put into controversy an additional $1,000,000 (calculated as $100,000 per year for 10

years).

          29.    Prayer for Relief. Finally, Plaintiff seeks undisclosed “damages, including actual,

nominal, and consequential damages[,] . . . punitive damages[,] . . . an award of attorneys’ fees,

costs, and litigation expenses[,] . . . prejudgment interest on all amounts awarded . . . and . . . [s]uch

other and further relief as this Court may deem just and proper.” Id. Courts may consider the

combined total amount of alleged actual damages and punitive damages. Bell v. Preferred Life

Assur. Soc. of Montgomery, Ala., 320 U.S. 238, 240 (1943) (“Where both actual and punitive

damages are recoverable under a complaint each must be considered to the extent claimed in

determining jurisdictional amount.”).




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          30.   When a plaintiff pleads punitive damages, the Seventh Circuit allows removal

based on the assumption that punitive damages may be awarded at a ratio range of 3-to-6 to 1,

punitive to actual damages. Keeling v. Esurance Ins. Co., 660 F.3d 273, 275 (7th Cir. 2011).

          31.   At a 3:1 ratio, excluding attorneys’ fees, punitive damages could possibly be in

excess of $30 million (calculated as actual possible damages, excluding injunctive relief value and

attorneys’ fees, times three). This is further evidence that the amount in controversy is satisfied.

          32.   Total Amount in Controversy. The above amount-in-controversy estimations based

on Plaintiff’s allegations, less attorneys’ fees, exceeds $5,000,000 as required by 28 U.S.C. §

1332(d)(2). This matter satisfies all requirements of 28 U.S.C. § 1332(d). It may be removed under

CAFA.

                  NO EXCEPTIONS APPLY TO THIS CAFA REMOVAL

          33.   “CAFA’s language favors federal jurisdiction over class actions . . . with all doubts

resolved ‘in favor of exercising jurisdiction over the case.’” Evans v. Walter Indus., Inc., 449 F.3d

1159, 1163 (11th Cir. 2006) (citing S. Rep. No. 109-14 at 42, U.S. Code Cong. & Admin. News

3, 40).

          34.   Plaintiff seeks a nationwide class action arising out of the “Data Breach” and

provides no indicia that this is a local matter. See generally Compl. (emphasis added). Under

CAFA, Plaintiff bears the burden of persuading the Court that an exception applies to the removal.

See Hart v. FedEx Ground Package Sys. Inc., 457 F.3d 675, 681 (7th Cir. 2006); see also Myrick

v. WellPoint, Inc., 764 F.3d 662, 665 (7th Cir. 2014) (noting “plaintiffs needed to produce some

evidence that would allow the court to determine the class members’ citizenships on the date the

case was removed”); In re Sprint Nextel Corp., 593 F.3d 669, 676 (7th Cir. 2010) (acknowledging

that “plaintiffs could have guaranteed that the suit would remain in state court” if “the plaintiffs




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might have defined their class as all Kansas citizens who purchased text messaging from Sprint

Nextel or an alleged coconspirator”).

        35.      Local Controversy Exception. Neither St. Augustine nor Plaintiff can show, let

alone demonstrate, that CAFA’s “local controversy exception” applies without individually

deposing all putative class members. The “local controversy exception” requires a district court to

decline to exercise jurisdiction when three requirements are met: (1) greater than two-thirds (sixty-

seven percent) of the proposed class are citizens of the state of filing; (2) at least one ‘significant

defendant’ is a citizen of the state of filing; and (3) the principal injuries were incurred in the state

of filing. Roberson v. Maestro Consulting Servs. LLC, 507 F. Supp. 3d 998, 1012, fn. 5 (S.D. Ill.

2020) (citing 28 U.S.C. § 1332(d)(4)(A)).

        36.      Home-State Exception. Neither St. Augustine nor Plaintiff can show, let alone

demonstrate, that CAFA’s “home-state exception” applies without individually deposing all

putative class members. The home-state exception requires the Court to decline jurisdiction if two-

thirds (sixty-seven percent) or more of all proposed plaintiff classes in the aggregate and the

primary defendant are citizens of the state where the class action was originally filed. 28 U.S.C. §

1332(d)(4)(B).

        37.      Without speaking to each putative class member, which impracticably forces a class

certification analysis before removal, neither party can conclusively know the unnamed members’

states of citizenship. Myrick, 764 F.3d at 664 (“Citizenship means domicile, which is where the

person (1) resides and (2) intends to remain . . ..”). This is especially true for St. Augustine students

who may attend the school for a limited time, with the intent to return to and remain in a different

home state or home country, for St. Augustine’s international student population. Simply because




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a student attends St. Augustine in Illinois, and even temporarily resides there, does not mean the

student is an Illinois citizen.

        38.     Prima facie evidence, however, suggests that neither the local controversy

exception nor the home state exception applies.

        39.     St. Augustine’s records indicate that approximately 17,383 individuals’

information may have been impacted in the “Data Breach” as defined by Plaintiff. Of those, St.

Augustine lacks address information for 5,338 individuals, demonstrating there is no available and

conclusive evidence of citizenship for these individuals.

        40.     St. Augustine also notified addressees across 32 non-Illinois states. These non-

Illinois addresses make it more likely than not that these individuals are non-Illinois citizens.

        41.     St. Augustine also received undeliverable mail notifications for individuals notified

with Illinois addresses. These undeliverable mailings indicate that even individuals with Illinois

addresses may not be Illinois citizens.

        42.     Furthermore, of the successfully mailed Illinois addresses, hundreds of addresses

are duplicative. Publicly available searches indicate that some of these duplicative addresses are

single family homes, with multiple residents that do not share a last name. And, some of these

addresses are apartment buildings known for housing students. In either situation – a home with

multiple student roommates or apartments housing students – circumstantial evidence indicates

that these addresses are not where an individual intends to “remain” permanently, as is required to

prove citizenship. Further, there are several Illinois addresses that simply list the address of St.

Augustine (1345 Argyle St. Chicago, IL), which indicates that the individual – who cannot

possibly be domiciled at St. Augustine – lives and may be a citizen elsewhere. Therefore, it is more




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likely than not that for the individuals with these addresses, their mailing address is not conclusive

evidence of their ultimate citizenship.

       43.     Resolving all doubts in favor of CAFA jurisdiction, neither the local controversy

exception nor the home state exception applies to this removal. St. Augustine may remove this

matter to this Court.

                                    STATE COURT NOTICE

       44.     As required by 28 U.S.C. § 1446(d), St. Augustine is providing written notice of

the filing of this Notice of Removal to Plaintiff’s counsel and is filing a copy of this Notice of

Removal with the Clerk of the First Judicial Circuit Court for Cook County, Illinois.

               RESERVATION OF RIGHTS AND DENIAL OF LIABILITY

       45.     Nothing in this Notice is intended to be, or should be construed as, an express or

implied admission by St. Augustine of any fact alleged by Plaintiff; of the validity or merit of any

of Plaintiff’s claims and allegations; or as a limitation of any of St. Augustine rights, claims,

remedies, and defenses in connection with this action.

       WHEREFORE, St. Augustine removes the above-captioned action now pending in the

Circuit Court of Cook County, Illinois, County Department, Chancery Division, to the United

States District Court for the Northern District of Illinois, Eastern Division, at Chicago.




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Dated: August 11, 2022                   Respectfully submitted,

                                         /s/ Maria A. Boelen
                                         Maria A. Boelen
                                         Baker & Hostetler LLP
                                         One North Wacker Drive
                                         Suite 4500
                                         Chicago, IL 60606
                                         mboelen@bakerlaw.com
                                         Ph: 312.416.6200
                                         Fax: 312.416.6200

                                         Attorneys for Defendant




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                               CERTIFICATE OF SERVICE

       I, Maria A. Boelen, certify that on the 11th day of August 2022, the foregoing Notice of

Removal, was served via email on the following:

              Gary M. Klinger
              Milberg Coleman Bryson Phillips Grossman, PLLC
              227 W. Monroe Street, Suite 2100
              Chicago, IL 60606
              gklinger@milberg.com

              Terence R. Coates
              Markovits, Stock & DEMARCO, LLC
              119 E. Court Street, Suite 530
              Cincinnati, OH 45202
              tcoates@msdlegal.com



                                               /s/ Maria A. Boelen
                                               Maria Boelen




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